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                          United States District Court
                                          Western District of Wisconsin
                   UNITED STATES OF AMERICA                           AM ENDED JUDGM ENT IN A CRIM INAL CASE
                                                                        (for offenses committed on or after November 1, 1987)
                                                                                       RE-SENTENCING

                                  V.                                            Case Number:           08-CR-149-C-04

                           RACHEL S. MURRAY                           Defendant's Attorney:            Erika Bierm a




The defendant, Rachel S. Murray, pleaded guilty to count 10 of the indictm ent.

Counts 7 and 8 of the indictm ent are dism issed on the m otion of the United States.


ACCORDINGLY, the court has adjudicated defendant guilty of the following offense(s):
                                                                                   Date Offense                             Count
Title & Section              Nature of Offense                                     Concluded                              Num ber(s)
21 U.S.C. § 841(a)(1) and 18 Distribution of Five Gram s or More of Cocaine Base Septem ber 10, 2008                         10
U.S.C. § 2                   (Crack Cocaine), a Schedule II Controlled
                             Substance (aiding and abetting); a Class B felony


The defendant is sentenced as provided in pages 2 through 6 of this judgm ent. The sentence is im posed pursuant to the
Sentencing Reform Act of 1984.


IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district w ithin 30 days
of any change of nam e, residence, or mailing address until all fines, restitution, costs, and special assessments
imposed by this judgm ent are fully paid. If ordered to pay restitution, the defendant shall notify the court and United
States Attorney of any material change in the defendant’s econom ic circum stances.




  Defendant's Date of Birth:             December 14, 1981                                              August 5, 2010
                                                                                                Date of Imposition of Judgment
  Defendant's USM No.:                   06748-090

  Defendant's Residence Address:         c/o Thomas and Suzy Murray (parents)
                                         5614 E. Buckeye Road
                                         Madison, WI 53716                                               /s/ Barbara B. Crabb
                                                                                                       Barbara B. Crabb
  Defendant's Mailing Address:           c/o Bureau of Prisons
                                                                                                        District Judge

                                                                                                        August 5, 2010
                                                                                                          Date Signed:
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                                                   IMPRISONMENT
As to count ten of the indictm ent, it is ordered that the judgm ent entered on May 1, 2009, is am ended to provide that defendant
is com m itted to the custody of the Bureau of Prisons for a term of 50 m onths.

In all other respects, the judgm ent rem ains as entered on May 1, 2009.

I recom m end that defendant receive prerelease placem ent in a residential re-entry center with work release privileges.




                                                           RETURN
          I have executed this judgment as follow s:




          Defendant delivered on                                     to

at                                  , with a certified copy of this judgm ent.




                                                                                     UNITED STATES MARSHAL
                                                         By
                                                                                          Deputy Marshal
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                                               SUPERVISED RELEASE
The term of im prisonm ent is to be followed by a five-year term of supervised release with standard conditions.

Defendant shall report to the probation office in the district to which defendant is released within 72 hours of release from the
custody of the Bureau of Prisons.

Defendant shall not com m it another federal, state, or local crim e.

Defendant shall not illegally possess a controlled substance.

If defendant has been convicted of a felony, defendant shall not possess a firearm , destructive device, or other dangerous
weapon while on supervised release.

Defendant shall cooperate with the collection of DNA by the U.S. Justice Departm ent and/or the U.S. Probation and Pretrial
Services Office as required by Public Law 108-405.

If this judgm ent im poses a fine or a restitution obligation, it shall be a condition of supervised release that defendant pay any
such fine or restitution that rem ains unpaid at the com m encem ent of the term of supervised release in accordance with the
Schedule of Paym ents set forth in the Financial Penalties sheet of this judgm ent.

Defendant shall com ply with the standard conditions that have been adopted by this court (set forth on the next page).

In light of the nature of the offense and defendant’s history of substance abuse, the following special conditions are appropriate.
Defendant is to:

1)        Provide the supervising U.S. probation officer any and all requested financial inform ation, including copies of state and
          federal tax returns;

2)        Register with local law enforcem ent agencies and the state attorney general, as directed by the supervising U.S.
          probation officer;

3)        Not associate with any m em ber or prospective m em ber of any known street gang or affiliate;

4)        Participate in m ental health referral, assessm ent and treatm ent as approved by the supervising U.S. probation officer
          and com ply with all rules, regulations and recom m endations of the m ental health agency or its representative to the
          extent approved by the supervising U.S. probation officer. Defendant shall take any m edications prescribed by a
          licensed m edical provider;

5)        If not em ployed at a regular lawful occupation, perform up to 20 hours of com m unity service each week and participate
          in training, counseling, daily job search or other activities relating to finding or preparing for em ploym ent, all as directed
          by the probation officer;

6)        Abstain from the use of alcohol and illegal drugs and from association with drug users and sellers and participate in
          substance abuse treatm ent. Defendant shall subm it to drug testing beginning within 15 days of her release and 60
          drug tests annually thereafter. The probation office m ay utilize the Adm inistrative Office of the U.S. Courts’ phased
          collection process; and

7)        Subm it her person, property, residence, office or vehicle to a search conducted by a U.S. probation officer at a
          reasonable tim e and in a reasonable m anner, whenever the probation officer has reasonable suspicion of contraband
          or of the violation of a condition of release; failure to subm it to a search m ay be a ground for revocation; defendant
          shall warn any other residents that the prem ises she is occupying m ay be subject to searches pursuant to this
          condition.
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                                  STANDARD CONDITIONS OF SUPERVISION
    1)   Defendant shall not leave the judicial district without the perm ission of the court or probation officer;

    2)   Defendant shall report to the probation officer as directed by the court or probation officer and shall subm it a
         truthful and com plete written report within the first five days of each m onth;

    3)   Defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation
         officer;

    4)   Defendant shall support his or her dependents and m eet other fam ily responsibilities;

    5)   Defendant shall work regularly at a lawful occupation unless excused by the probation officer for schooling,
         training, or other acceptable reasons;

    6)   Defendant shall notify the probation officer at least ten days prior to any change in residence or em ploym ent;

    7)   Defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute or
         adm inister any narcotic or other controlled substance, or any paraphernalia related to such substances except as
         prescribed by a physician;

    8)   Defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or
         adm inistered;

    9)   Defendant shall not associate with any persons engaged in crim inal activity, and shall not associate with any
         person convicted of a felony unless granted perm ission to do so by the probation officer;

  10)    Defendant shall perm it a probation officer to visit him or her at any tim e at hom e or elsewhere and shall perm it
         confiscation of any contraband observed in plain view by the probation officer;

  11)    Defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law
         enforcem ent officer;

  12)    Defendant shall not enter into any agreem ent to act as an inform er or a special agent of a law enforcem ent
         agency without the perm ission of the court;

  13)    As directed by the probation officer, defendant shall notify third parties of risks that m ay be occasioned by
         defendant's crim inal record or personal history or characteristics, and shall perm it the probation officer to m ake
         such notifications and to confirm defendant's com pliance with such notification requirem ent.
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                                    CRIMINAL MONETARY PENALTIES
Defendant shall pay the following total financial penalties in accordance with the schedule of paym ents set forth below.


                           Count     Assessment             Fine                   Restitution

                              10     $100.00                $0.00                  $0.00

                            Total    $100.00                $0.00                  $0.00



It is adjudged that defendant is to pay a $100 crim inal assessm ent penalty to the Clerk of Court for the W estern District of
W isconsin im m ediately following sentencing.

Defendant has neither the m eans nor earning capacity to pay a fine under § 5E1.2(c) without im pairing her ability to support
herself and her children upon release.
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                                          SCHEDULE OF PAYMENTS
Paym ents shall be applied in the following order:
                                                         (1) assessm ent;
                                                         (2) restitution;
                                                         (3) fine principal;
                                                         (4) cost of prosecution;
                                                         (5) interest;
                                                         (6) penalties.


The total fine and other m onetary penalties shall be due in full im m ediately unless otherwise stated elsewhere.




Unless the court has expressly ordered otherwise in the special instructions above, if the judgm ent im poses a period of
im prisonm ent, paym ent of m onetary penalties shall be due during the period of im prisonm ent. All crim inal m onetary penalties,
except those paym ents m ade through the Federal Bureau of Prisons’ Inm ate Financial Responsibility Program , are m ade to
the clerk of court, unless otherwise directed by the court, the probation officer, or the United States Attorney.

The defendant shall receive credit for all paym ents previously m ade toward any crim inal m onetary penalties im posed.

In the event of a civil settlem ent between victim and defendant, defendant m ust provide evidence of such paym ents or
settlem ent to the Court, U.S. Probation office, and U.S. Attorney’s office so that defendant’s account can be credited.
